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                                UNITED STATES BANKRUPTCY COURT

                                  EASTERN DISTRICT OF LOUISIANA

   In re:                                              §
                                                       §          Case No. 20-10846
   THE ROMAN CATHOLIC CHURCH                           §
   OF THE ARCHDIOCESE OF NEW                           §          Section “A”
   ORLEANS,                                            §
                                                       §          Chapter 11
            Debtor.1                                   §
                                                       §


     DEBTOR’S EX PARTE MOTION FOR AN ORDER ESTABLISHING DEADLINES
    FOR FILING PROOFS OF CLAIMS; APPROVING PROOF OF CLAIM FORM; AND
             APPROVING FORM AND MANNER OF NOTICE THEREOF

            NOW INTO COURT, through undersigned counsel, comes The Roman Catholic Church

   of the Archdiocese of New Orleans, the debtor-in-possession in the above captioned Chapter 11

   case (“Debtor” or “Archdiocese”), and hereby files this Ex Parte Motion (the “Motion”) for

   entry of an order pursuant to Section 501 of the Bankruptcy Code, 11 U.S.C. §101 et seq. (the

   “Bankruptcy Code”), and Rules 2002(a) and 3001-3005 of the Federal Rules of Bankruptcy

   Procedure (the “Bankruptcy Rules”), and Local Rule 9013-1(D)(17): (i) fixing the time within

   which proofs of claims against the Debtor’s estate are to be filed by persons or entities with (a)

   general unsecured claims (the “General Bar Date”), (b) government unit claims (the

   “Government Unit Bar Date”), and (c) Abuse Claims2 (the “Abuse Bar Date,” and, together

   with the General Bar Date, Government Unit Bar Date, and Abuse Bar Date, each a “Bar Date”

   and collectively the “Bar Dates”); (ii) approving the proposed Abuse Claim Form attached


            1
             The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s
   principal place of business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
            2
                The terms Abuse Claim(s) and Abuse Claimant(s) are as defined in Exhibit A hereto.



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   hereto as Exhibit A; (iii) approving procedures to maintain the confidentiality of proofs of claim

   filed by Abuse Claimants; (iv) approving the form and manner of the proposed notices of the Bar

   Dates as providing fair, reasonable and adequate notice of the Bar Dates; and (v) granting related

   relief. In support of the Motion, the Debtor respectfully represents as follows:

                                              Jurisdiction

            1.      The Court has jurisdiction over this Motion pursuant to 28 U.S.C §§ 157 and

   1334. Venue of this proceeding is proper in this district and before this Court pursuant to 28

   U.S.C. §§ 1408 and 1409. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

            2.      The statutory predicates for the relief requested herein are 11 U.S.C. §§ 105,

   107, 502 and 503 and Bankruptcy Rules 2002, 1007, 3003 and 9018.

                                              Background

            3.     On the date hereof (the “Petition Date”), the Debtor filed a voluntary petition for

   relief under the Bankruptcy Code.

            4.     The Archdiocese remains in possession of its property and is managing its

   business as a debtor in possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code.

            5.     The Official Committee of Unsecured Creditors (the “Creditors’ Committee”)

   was appointed on May 20, 2020 [ECF Nos. 94 and 114], and reconstituted on June 10, 2020

   [ECF No. 151].

            6.     Pursuant to Local Rule 9013-1(D)(17), on or about June 23, 2020, the Debtor

   provided this Motion and its corresponding exhibits to the Creditors’ Committee and the United

   States Trustee for review and comment. The Debtor requested comments from the Creditors’

   Committee and the United States Trustee no later than June 30, 2020. On or about June 30,

   2020, counsel for the Creditor’s Committee informed the Debtor that the Creditor’s Committee




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   would not provide any comments to the Bar Date Motion, because it intends to file a motion to

   dismiss the case.3 The United States Trustee provided some comments.

            7.     The Debtor did receive and incorporate comments from other parties in interest

   including, but not limited to, its insurers. The United States Trustee, the Debtor, and the

   Debtor’s insurers continue to discuss this Motion and the Exhibits hereto. However, these

   parties believe that the setting of a Bar Date is an important step in providing the Debtor with the

   information it needs to formulate a Plan and eventually conclude this bankruptcy proceeding.

            8.     The Debtor’s Chapter 11 Case was filed in order to reorganize its financial affairs

   pursuant to a plan of reorganization that will, among other things, fairly, justly and equitably

   compensate Abuse Claimants and other creditors to whom the Debtor is liable.

            9.     The establishment of a deadline to file claims is critical in this case because it

   will allow the Debtor and other necessary parties to understand the universe of claims asserted

   against the Debtor. Abuse Claims may not be reflected on the Debtor’s books and records, and

   thus a notice process designed to give appropriate notice to potential claimants, coupled with a

   deadline to file claims, will allow the Debtor, and other parties in interest to review claims and

   then proceed with negotiations with the objective of settling the Abuse Claims and confirming a

   consensual plan of reorganization.

            10.    Abuse Claims typically require disclosure of information beyond the scope of the

   standard proof of claims form. As such, the Debtor proposes an Abuse Claim Form (attached

   hereto as Exhibit A) that requests information necessary to evaluate Abuse Claims. The Debtor

   also acknowledges that maintaining confidentiality of Abuse Claimants’ personally identifying

   information is critical. Therefore, the Debtor seeks approval of confidentiality protocols

            3
            It is unclear why the imminent filing of a motion to dismiss precludes providing comments on a
   the Bar Date Motion.



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   (described in detail below) to authorize filing Abuse Claims under seal, limit dissemination of

   such claim forms to necessary parties and require that such parties maintain their confidentiality.

                                               Relief Requested

            11.    In order for the Debtor to, among other things, administer its estate, solicit

   acceptances or rejections in connection with a Chapter 11 plan, and to make distributions

   thereunder, the Debtor must obtain complete and accurate information regarding the nature,

   validity, and amount of all claims that will be asserted in this case. Consequently, the Debtor

   respectfully request that, pursuant to Bankruptcy Rule 3003(c)(3), the Court: (i) establish the

   Bar Dates and related claims procedure proposed herein; (ii) approve the proposed Proof of

   Claim Form for Abuse Claimants; (iii) approve proposed procedures allowing Abuse Claimants

   to file confidential proofs of claims; (iv) approve the manner for sealing confidential

   information; (v) approve the form and manner of the proposed notices of the Bar Dates; and (vi)

   grant related relief.

                                                The Bar Dates

   A.       The General Bar Date

            12.    Bankruptcy Rule 3003(c)(3) provides that the Court shall fix a time within which

   proofs of claim must be filed. The Debtor requests that the Court fix September 29, 2020 at

   5:00 p.m. (prevailing Central Time) as the General Bar Date to file a proof of claim in respect

   to a pre-petition claim (i.e., one that arose before May 1, 2020), as defined in section 101(5) of

   the Bankruptcy Code (each, a “Claim,” and collectively, “Claims”).4


            4
             General Order 2019-4 (the “Complex Case Procedures”) provides that “unless ordered
   otherwise” the general bar date is 90 days after the meeting of creditors and that “[t]he debtor(s) must
   provide notice of the bar date to those listed on the mailing matrix on or before the first date set for the
   meeting of creditors.” The Debtor submits that the proposed General Bar Date is necessary in order to
   allow the administration of this case to move forward without unnecessary delay. The General Bar Date
   will allow the Debtor to more definitively ascertain the number, amount and substance of claims asserted


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            13.       The General Bar Date shall be the date by which all entities holding pre-petition

   claims (each a “General Claim,” and collectively, the “General Claims”), must file proofs of

   claim; provided, however, General Claims do not include Abuse Claims5 or Governmental Unit

   Claims.6

   B.       The Abuse Bar Date

            14.       The Debtor requests that the court also fix September 29, 2020 at 5:00 p.m.

   (prevailing Central Time) as the Abuse Bar Date. This Abuse Bar Date would be the date by

   which all Abuse Claims must be filed.

            15.       As noted above, in order to avoid confusion, the Abuse Bar Date and the General

   Bar Date should be the same date. Under the Complex Case Procedures, the bar date is

   presumed to be the date that is 90 days after the date first set for the meeting of creditors. In this

   case, that date would have been August 27, 2020. The Debtor believes that providing an extra 32

   days will provide sufficient notice to known and unknown creditors while striking an appropriate

   balance of moving this bankruptcy case forward at an appropriate speed.

   C.       The Government Unit Bar Date

            16.       The Debtor requests that court fix November 30, 2020 at 5:00 p.m. (prevailing

   Central Time) as the Government Unit Bar Date for all Government Unit Claims (the

   “Government Unit Claims”). This Government Unit Bar Date would be the date by which all

   Government Unit Claims must be filed.

   against the Debtor and the estate. Moreover, given the sensitive nature of some of the claims presented in
   this case, the Debtor believes that it was necessary to wait to provide notice in order to establish the
   manner and procedure with which those claims will be handled.
            5
                Defined in Exhibit A.
            6
              The term “Governmental Unit” has the meaning given to it in section 101(27) of the Bankruptcy
   Code and includes the United States, States, commonwealths, districts, territories, municipalities, foreign
   states, or departments, agencies or instrumentalities of the foregoing.



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   D.        Supplemental Notice Bar Date

             17.   After the initial mailing of the Bar Date Packages (as defined below), the Debtor

   may, in its discretion, make supplemental mailings of the Bar Date Packages, including in the

   event that: (i) packages are returned by the post office with forwarding addresses; and

   (ii) additional potential claimants become known as a result of the bar date mailing process. In this

   regard, the Debtor requests that the Court permit supplemental mailings of the Bar Date Packages

   in these and similar circumstances at any time.          The Debtor believes that these proposed

   supplemental mailings will help provide actual notice to known creditors wherever practicable,

   while at the same time preserving the integrity of the applicable Bar Date.            If the Debtor

   determines after the mailing of the Bar Date Packages that additional parties should receive the Bar

   Date Packages, then the date by which a General Creditor Proof of Claim Form (as defined below)

   or an Abuse Proof of Claim form (as defined below) must be filed by any such parties shall be the

   later of (i) the General Bar Date or the Abuse Bar Date, as applicable, or (ii) twenty-one (21) days

   from the mailing of the Bar Date Packages to such additional parties (the “Supplemental Bar

   Date”).

                                     Who Must File Proofs of Claim

             18.   The proposed order approving this Motion (the “Bar Date Order”), provides that

   all persons and entities holding pre-petition claims, including, without limitations, the following

   entities, must file the proofs of claim on or before the applicable Bar Date:

             (a) Any person or entity whose pre-petition claim against the Debtor is not listed in the
                 Debtor’s Schedules or whose pre-petition claim is listed in the Schedules but is listed
                 as disputed, contingent or unliquidated, and that desires to participate in this case or
                 share in a distribution in this case;

             (b) Any person or entity that believes that its pre-petition claim is improperly classified
                 in the Schedules or is listed in an incorrect amount and that desires to have its claim
                 allowed in a classification or amount other than that identified in the Schedules; and



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            (c) Any Abuse Claimant who believes that he or she has a claim against the Debtor,
                including but not limited to, Abuse Claimants who have previously filed lawsuits
                against the Debtor, Abuse Claimants who previously gave notice to the Debtor
                and/or the Archdiocese (including any parishes or schools that are located within the
                boundary of the Archdiocese) of their abuse (including informal notice thereof), and
                Abuse Claimants who have never filed a lawsuit, entered into a settlement or
                reported their abuse to the Debtor and/or the Archdiocese (including any parishes or
                schools that are located within the boundary of the Archdiocese).

            19.    Notwithstanding the foregoing, pursuant to the proposed Bar Date Order, the

   following persons or entities are not required to file a proof of claim on or before the applicable

   Bar Date:

            (a) Any person or entity that has already properly filed a proof of claim against the
                Debtor with the Clerk of the Court for the United States Bankruptcy Court for the
                Eastern District of Louisiana (the “Court”), or with Donlin, Recano & Company,
                Inc., the Debtor’s claims, noticing and solicitation agent (“DRC”);

            (b) An person or entity: (a) whose claim is listed in the Schedules or any amendments
                thereto; and (b) whose claim is not described there in as “disputed,” “contingent,” or
                “unliquidated;” and (c) who does not dispute the amount or classification of its claim
                as set forth in the Schedules;

            (c) Professionals retained by the Debtor or the Committee pursuant to orders of this
                Court, who assert administrative claims for payment of fees and expenses subject to
                the Court’s approval pursuant to §§ 330, 331, and 503(b) of the Bankruptcy Code;

            (d) Any person or entity that asserts an administrative expense claim against the Debtor
                pursuant to § 503(b) and § 507(a)(2) of the Bankruptcy Code;

            (e) Any person or entity whose claim against the Debtor has been allowed by an order of
                the Court entered on or before the applicable Bar Date;

            (f) Any person or entity whose claim has been paid in full;

            (g) Entities that are separately formed under applicable law, possess an EIN number
                separate from the Archdiocese in which the Archdiocese or the Archbishop is the
                sole shareholder, member or general partner of such entity; and

            (h) Any holder of a claim for which a separate deadline is (or has been) fixed by this
                Court.




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                      Consequences of Failure to Timely File a Proof of Claim

            20.    Pursuant to Bankruptcy Rule 3003(c)(2), the Debtor requests that any holder of a

   Claim, other than those not required to file a Proof of Claim pursuant to the Order, that fails to

   file a Proof of Claim, on or before the applicable Bar Date be forever barred, estopped, and

   enjoined from asserting such Claim against the Debtor, with the Debtor and its property being

   forever discharged from any and all indebtedness or liability with respect to or arising from that

   Claim, and not be permitted to participate in any distribution in this Chapter 11 Case on account

   of such Claim or receive further notices regarding such Claim.

                               Legal Argument in Support of Bar Date

            21.    Bankruptcy Rule 3003(c)(3) provides that the Court shall fix the time within

   which proofs of claim must be filed in a Chapter 11 case pursuant to § 501 of the Bankruptcy

   Code. See Fed. R. Bankr. P. 3003(c)(3). Under Bankruptcy Rule 3003(c)(1), a “governmental

   unit” has up to 180 days after the Petition Date to timely file a proof of claim. Bankruptcy Rule

   3003(c)(2) further provides that any creditor who asserts a claim against the Debtor that arose

   prior to the petition date, and whose claim is not scheduled in the Debtor’s schedules of assets

   and liabilities or whose claim is listed on such schedules as disputed, contingent, or unliquidated,

   must file a proof of claim, failing which such creditor shall not be treated as a creditor with

   respect to such claim for the purposes of voting and distribution. See id. at 3003(c)(2).

            22.    The Debtor submits that the proposed Bar Dates will provide potential claimants

   with an adequate amount of time after the mailing of the Notice of Bar Date Packages (as

   defined below) and publication of the Publication Notice (as defined below) within which to

   review the Schedules, compare the information contained therein and, if necessary, prepare and

   file proofs of claim. This includes governmental units that will receive 180 days after the Petition

   Date to file a proof of claim, as required by Bankruptcy Code § 502(9).


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            23.    The establishment of the deadlines to file claims against the Debtor is essential for

   this case to progress. The Debtor cannot effectively move forward with negotiations with any the

   Committee, insurance carriers, Abuse Claimants and other parties until the universe of Abuse

   Claims and other claims asserted against the Debtor are known with greater certainty.

                                   Proposed Proof of Claim Forms

            24.    General Proof of Claim Form. With respect to pre-petition creditors that are not

   Abuse Claimants (any such creditors, “General Creditors”), with the assistance of DRC, the

   Debtor has prepared the General Creditor Proof of Claim Form, which substantially conforms to

   Official Form 410 but is tailored to this Chapter 11 case. The modifications to Official Form 410

   claim form proposed by the Debtor includes inserting the Debtor name, court name and case

   number onto the form and allowing the Debtor to pre-print the creditor name and address in part

   1, section 1 and adding certain instructions. The Debtor requests approval of the General

   Creditor Proof of Claim Form and accompanying instructions substantially in the form annexed

   to the Motion as Exhibit B (the “General Creditor Proof of Claim Form”).

            25.    The proposed Bar Date Order provides that each General Creditor Proof of Claim

   Form filed must: (a) be written in English; (b) be denominated in lawful currency of the United

   States as of the Petition Date; and (c) have attached copies of any writings upon which the claim

   is based in accordance with bankruptcy Rules 3001(c) and 3001(d), including for secured

   claims, evidence that the security interest has been perfected; and (d) either be filed

   electronically in accordance with the Local Bankruptcy Rules and /or General Orders of the

   Court or be originally executed and mailed or delivered by the General Bar Date as follows: If

   sent by mail, send to: Donlin, Recano & Company, Inc., Re: The Roman Catholic Church of the

   Archdiocese of New Orleans, P.O. Box 199043, Blythebourne Station, Brooklyn, NY 11219, or




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   if sent by hand delivery or overnight courier, send to: Donlin, Recano & Company, Inc., Re: The

   Roman Catholic Church of the Archdiocese of New Orleans, 6201 15th Avenue, Brooklyn, NY

   11219. The proposed Bar Date Order further provides that proofs of claim must be mailed or

   delivered by messenger or overnight courier; proofs of claim sent by facsimile, telecopy, or e-

   mail will not be accepted.

            26.    Abuse Proof of Claim Form. The Debtor submits that, due to the circumstances of

   this case and the unique and personal aspects of Abuse Claims, that a modified proof of claim

   form similar to those utilized by other dioceses and religious order debtors should be employed.

   Accordingly, the Debtor proposes a confidential proof of claim form to be submitted by an

   Abuse Claimant in connection with their claims (the “Abuse Proof of Claim Form”). A copy of

   the proposed Abuse Proof of Claim Form is attached hereto as Exhibit A. The information

   requested in the Abuse Proof of Claim Form is designed to, and will, assist the Debtor, the

   Committee and necessary parties in evaluating and negotiating a settlement of the Abuse Claims.

            27.     The Debtor submits that the proposed Abuse Proof of Claim Form is

   appropriate under the circumstances of this case. It is well established that the Court has the

   authority to authorize the modification of Official Bankruptcy Form 410. See In re A.H. Robins

   Co., 862 F.2d 1092 (4th Cir. 1988); In re Eagle-Picher Indus., Inc., 158 B.R. 713, 716 (Bankr.

   S.D. Ohio 1993). While Bankruptcy Rule 3001(a) provides that “[a] proof of claim shall conform

   substantially to the appropriate Official Form,” Bankruptcy Rule 9009 authorizes appropriate and

   necessary alterations to the Official Forms:

                   the Official Forms prescribed by the Judicial Conference of the
                   United States shall be observed and used with alterations as may
                   be appropriate. Forms may be combined and their contents
                   rearranged to permit economies in their use. The Director of the
                   Administrative Office of the United States Courts may issue




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                   additional forms under the Code. The forms shall be construed to
                   be consistent with these rules and the Code.

   Fed. R. Bankr. P. 9009; see also In re I.G. Servs., Ltd., 244 B.R. 377, 384 (Bankr. W.D. Tex.

   2000) (citing In re A.H. Robins Co., 862 F.2d 1092) (noting that proof of claim forms that

   deviate from the Official Proof of Claim Form 10 may be used when special circumstances

   exist). Further, in A.H. Robins, the court recognized that substantial alteration to Official Proof of

   Claim Form 10 may be necessary when dealing with tort claims. See In re A.H. Robins Co., 862

   F.2d at 1092.

            28.      Similar forms have been approved in cases similar to this one involving the

   assertion of claims arising out of Abuse. See, e.g., In re Diocese of Helena, Case No. 14-60074,

   Docket #242, (Bankr. D. Mont. May 6, 2014); In re Catholic Diocese of Wilmington, Inc., Case

   No. 09-13560 (Bankr. D. Del. Feb. 1, 2010); In re Roman Catholic Church of The Diocese. of

   Tucson, Case No. 04-04721 (Bankr. D. Ariz. Nov. 5, 2004); In re Catholic Bishop of Northern

   Alaska, Case No. 08-00110 (Bankr. D. Alaska May 30, 2008); In re Diocese of Davenport, Case

   No. 06-02229 (Bankr. S.D. Iowa Mar. 16, 2007); In re the Roman Catholic Bishop of San Diego,

   Case No. 07-00939 (Bankr. S.D. Cal. Aug, 20, 2007); and In re the Roman Catholic Church of

   the Diocese of Gallup, Case No. 13-13676-11 (Bankr. D.N.M. 2013).

            29.      The Debtor respectfully asserts that the use of the Abuse Proof of Claim Form

   is necessary and appropriate in this case. The form requires information necessary to allow the

   Debtor to evaluate the claims of Abuse Claimants.

            30.     The Debtor requests that it need not provide further notices to any holder of a

   Claim, whether a General Creditor Claim Government Unit Claim or Abuse Claim, that is not

   subject to one of the exceptions enumerated above who fails to timely file a proof of claim on the

   appropriate form.



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                                        Confidentiality Protocol

            31.    Due to the nature of the information that is requested in the Abuse Proof of Claim

   Form, the Debtor seeks approval through this Motion of the following confidentiality protocol

   (the “Confidentiality Protocol”):

            (a) Abuse Claimants are directed to mail or deliver the original of each Abuse Proof of
                Claim Form as follows: If sent by mail, send to: Donlin, Recano & Company, Inc.,
                Re: The Roman Catholic Church of the Archdiocese of New Orleans, P.O. Box
                199043, Blythebourne Station, Brooklyn, NY 11219, or if sent by hand delivery or
                overnight courier, send to: Donlin, Recano & Company, Inc., Re: The Roman
                Catholic Church of the Archdiocese of New Orleans, 6201 15th Avenue, Brooklyn,
                NY 11219.

            (b) Abuse Proof of Claim Forms submitted by Abuse Claimants will not be available to
                the general public unless an Abuse Claimant affirmatively indicates his or her desire
                that the proof of claim be made public in Part 1 of the Abuse Proof of Claim Form.
                The Confidentiality Protocol is for the benefit of the Abuse Claimants. Accordingly,
                Abuse Claimants may elect to make any of the information contained in their own
                Abuse Proof of Claim Form public, even if they elected to file the Proof of Claim
                confidentially; provided, however, that notwithstanding that an Abuse Claimant may
                disclose information on such claimant’s Abuse Proof of Claim, such disclosure shall
                not constitute a waiver of confidentiality and no other party may disclose any
                information from such Abuse Proof of Claim, except as allowed by Permitted Parties,
                as defined below.

            (c) Abuse Proof of Claim Forms submitted by an Abuse Claimant shall be held and
                treated as confidential by the Debtor and Debtor’s counsel and copies thereof may be
                provided to the parties listed below (the “Permitted Parties”) and to such other
                persons that may be granted access to the Abuse Proofs of Claim by order of the
                Court. No party (included a Permitted Party) may obtain copies of Abuse Proofs of
                Claim unless such party executes a confidentiality agreement substantially in the form
                attached hereto as Exhibit C (the “Confidentiality Agreement”). All parties with
                access to the Abuse Proof of Claim Forms shall keep the information provided in an
                Abuse Proof of Claim Form confidential (unless the Abuse Claimant elects otherwise
                in Part 1 of the Abuse Proof of Claim Form). Executed Confidentiality Agreements
                shall be provided to counsel to the Debtor and counsel to the Committee. Permitted
                Parties shall not disclose the contents of any Abuse Claim Form unless expressly
                authorized pursuant to Part 1 of the Abuse Claim Form,7 even if the Abuse Claimant


            7
             Unless otherwise specified herein, access to the Abuse Proof of Claim Forms extends only to
   the natural person who executes the Confidentiality Agreement. A separate Confidentiality Agreement
   must be signed by each natural person who seeks access to the records on behalf of a Permitted Party.



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                   disclosed some or all of the information contained in the form. Counsel to the Debtor
                   shall only be required to execute a single Confidentiality Agreement per law firm.

            (d) The Permitted Parties (the “Permitted Party List”) include:

                      (i)     Counsel to the Debtor retained pursuant to an order of the Bankruptcy
                              Court, including partners, counsel, associates, and employees of such
                              counsel;

                      (ii)    The Archbishop of the Archdiocese of New Orleans (the “Archbishop”)
                              and employees of the Debtor who are necessary to assist the Archbishop in
                              reviewing and analyzing the Abuse Claims;

                      (iii)   Counsel for any Committee formed, including partners, counsel,
                              associates, and employees of such counsel;

                      (iv)    Any insurance company that provided insurance that may cover the claims
                              described in the Abuse Proof of Claim Forms upon consent of the Debtor
                              and the Committee;

                      (v)     Any unknown claims representative appointed pursuant to an order of the
                              Court in this case, including but not limited to DRC, the claims, noticing
                              and solicitation agent in this case, and any employees of DRC;

                      (vi)    Any mediator appointed pursuant to an order of this Court to mediate the
                              terms of a settlement or Plan of reorganization in this case;

                      (vii)   Any special arbitrator/claims reviewer appointed to review and resolve the
                              claims of Abuse Claimants;

                      (viii) Any trustee, or functional equivalent thereof, appointed to administer
                             payments to Abuse Claimants including pursuant to a plan of
                             reorganization or a proposed plan of reorganization;

                      (ix)    Authorized representatives of a department of corrections if the Abuse
                              Claimant is incarcerated but only to the extent disclosure is authorized or
                              required under applicable non-bankruptcy law;

                      (x)     Members of the Committee and their personal counsel (after the Abuse
                              Proof of Claim Form has been redacted to remove the Abuse Claimant’s
                              name, address, and any other information identified in Part 2(A) of the
                              Abuse Proof of Claim Form and the signature block);

                      (xi)    Any Person with the express written consent of the Debtor and any
                              Committee formed upon 10 business days’ notice to Abuse Claimants;




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                   (xii)   Insurance companies or their successors, including any authorized claim
                           administrators of such insurance companies, that issued or allegedly issued
                           policies to the Debtor and their reinsurers and attorneys;

                   (xiii) Such other persons as the Court determines should have the information
                          in order to evaluate Abuse Claims; provided, however, that any such
                          determination shall be made on no less than 7 days’ notice to Abuse
                          Claimants.

            32.    The proposed Bar Date Order provides that each Abuse Proof of Claim Form filed

   must: (a) be written in English or Spanish; (b) be denominated in lawful currency of the United

   States as of the Petition Date; and (c) be originally executed and mailed or delivered by the

   Abuse Bar Date as follows: If sent by mail, send to: Donlin, Recano & Company, Inc., Re: The

   Roman Catholic Church of the Archdiocese of New Orleans, P.O. Box 199043, Blythebourne

   Station, Brooklyn, NY 11219, or if sent by hand delivery or overnight courier, send to: Donlin,

   Recano & Company, Inc., Re: The Roman Catholic Church of the Archdiocese of New Orleans,

   6201 15th Avenue, Brooklyn, NY 11219 on or before the Abuse Bar Date. The proposed Bar

   Date Order further provides that proofs of claim must be mailed or delivered by messenger or

   overnight courier; proofs of claim sent by facsimile, telecopy, or e-mail will not be accepted.

   The Debtor requests that the Court maintain any filed Abuse Claims forms under seal subject to

   the Confidentiality Protocols.

            33.    The Debtor submits the Confidentiality Protocol is both necessary and appropriate

   under the circumstances of this case. The Debtor is sensitive to the issues that may arise for an

   Abuse Claimant asserting a claim against the Debtor’s estate. Through the Confidentiality

   Protocol and the Abuse Proof of Claim Form, the Debtor is attempting to obtain the information

   that they need in order to evaluate the Abuse Claimants’ claims, while at the same time

   providing a form that will not discourage Abuse Claimants from coming forward and asserting

   their claims.



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                                           Notice Procedures

            34.    In order to satisfy the requirements of due process, notice of the Bar Dates must

   be reasonably calculated to apprise interested persons of the deadlines. See Mullane v. Central

   Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). Whether notice is reasonable or adequate

   depends on whether a creditor is known or unknown to the Debtor. See Grant v. U.S. Home

   Corp. (In re U.S.H. Corp of NY), 223 B.R. 654, 658 (Bankr. S.D.N.Y. 1998); see also Chemetron

   Corp. v. Jones, 72 F.3d 341, 346 (3d Cir. 1995). “Known” creditors must receive actual, mail

   notice of bankruptcy proceedings. See id. at 345. By contrast, notice by media publication is

   sufficient to satisfy the requirements of due process for “unknown” creditors. See id. at 346-47.

            35.    A “known” creditor is one whose identity is either known or “reasonably

   ascertainable by the Debtor.” Id. at 346 (citing Tulsa Professional Collection Serv., Inc. v. Pope,

   485 U.S. 478 (1988)). In identifying “known” creditors, due process requires debtors to perform

   reasonable diligence of their books and records – but it does not require that debtors engage in

   “impracticable and extended searches.” Mullane, 339 U.S. at 317; see also In re Thomson

   McKinnon Securities Inc., 130 B.R. 717, 720 (Bankr. S.D.N.Y. 1991) (noting that the Debtor is

   not required to search out each conceivable or possible creditor).

            36.    By contrast, the Supreme Court has held that an “unknown” creditor is one whose

   “interests are either conjectural or future or, although they could be discovered upon

   investigation, do not in due course of business come to the knowledge” of the Debtor. Mullane,

   339 U.S. at 317. Moreover, in bankruptcy cases, when determining whether a creditor is

   “known” or “unknown,” the appropriate form of notice, and how much to spend on notice, courts

   must balance the interests of the Debtor’s existing and potential creditors as well as other parties

   in interest. See Vancouver Women’s Health Collective Soc. v. A.H. Robins Co., Inc., 820 F.2d



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   1359, 1364 (4th Cir. 1987); see also Fogel v. Zell, 221 F.3d 955, 963 (7th Cir. 2000); In re GAC

   Corp., 681 F.2d 1295, 1300 (11th Cir. 1982); In re Circuit City Stores, Inc., 439 B.R. 652, 660

   (Bankr. E.D. Va. 2010) (“[t]he totality of the circumstances in each case must be analyzed to

   determine whether a particular creditor is known or unknown”).

            37.    As part of the Debtor’s goal to obtain a fresh start the Debtor needs to ensure

   that the reorganized organization will be free from the threat of additional claims being

   brought after their emergence from Chapter 11. In order to obtain this discharge, and in order

   to provide any person who believes he or she has an Abuse Claim or an unsecured general

   claim the opportunity to appear and be heard, the Debtor proposes to implement the noticing

   protocol set forth below.

                   Notice of the General Bar Date and Government Unit Bar Date

            38.    No later than fourteen (14) days after the entry of an order by this Court setting

   the Bar Dates, the Debtor shall serve by United States mail, first-class postage prepaid: (i) notice

   of the General Bar Date and the Government Unit Bar Date, substantially in the form attached

   hereto as Exhibit D and incorporated herein by reference (the “General Creditor Bar Date

   Notice”); and (ii) Proof of Claim form substantially in the form attached hereto as Exhibit B

   (together with the General Creditor Bar Date Notice and Government Unit Bar Date Notice, the

   “General Creditor Bar Date Notice Package”), upon (a) the Office of the United States

   Trustee for the Eastern District of Louisiana; (b) counsel to any Committee formed in this case;

   (c) all entities who have filed a notice of appearance in the Debtor’s case; (d) all entities listed

   in Debtor’s schedules; (e) all parties to executory contracts and unexpired leases of the Debtor;

   (f) all entities that have previously filed proofs of claims in the Debtor’s case; (g) any other

   entities or their counsel, including governmental units, known to the Debtor as entities who may




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   have claims against the estate; and (h) such additional persons and entities as deemed

   appropriate by the Debtor.

            39.     The General and Government Unit Creditor Bar Date complies with the

   notice period required by Bankruptcy Rules 2002(a)(7).

                                       Notice of the Abuse Bar Date

            40.     No later than fourteen (14) days after the entry of an order by this Court setting

   the Bar Dates, the Debtor shall serve by United States mail, first-class postage prepaid: (i) notice

   of the Abuse Bar Date substantially in the form attached here to as Exhibit E and incorporated

   herein by reference (the “Abuse Bar Date Notice” and, together with the General and

   Government Unit Creditor Bar Date Notice, each a “Bar Date Notice” and collectively the “Bar

   Date Notices”); (ii) an Abuse Proof of Claim Form; (iii) the Bar Date Order (together with the

   Abuse Bar Date Notice and the Abuse Proof of Claim Form, the “Abuse Bar Date Notice

   Package” and, together with the General and Government Unit Creditor Bar Date Notice

   Package, the “Bar Date Packages”).

            41.     The Debtor shall provide notice of the Abuse Bar Date by serving the Abuse Bar

   Date Notice Package no later than fourteen (14) days after the entry of an order by this Court

   setting the Bar Dates on known Abuse Claimants who:

            (a)    Filed, or threatened to file, lawsuits against the Debtor that allege they were abused;
                   and

            (b)    Contacted the Debtor to report that they were abused, whether or not that
                   individual’s claim was considered to be substantiated and whether or not the report
                   was written or verbal.

            42.     The Debtor believes this timeframe and the manner of the Bar Date Packages are

   adequate due to the extensive pre-petition outreach made by attorneys representing the vast

   majority of Abuse Claimants against the Debtor.



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                                              Publication Notices

            43.       The Debtor has determined, pursuant to Bankruptcy Rule 2002(l), that it would

   be in the best interest of its estate to give notice by publication of the Abuse Bar Date so that

   unknown Abuse Claimants to whom no other notice was sent by the Debtor will be notified of

   the Abuse Bar Date and the requirement to file a proof of claim on account of such Abuse.

   Additionally, Debtor will give notice by publication of the General Bar Date and the

   Government Unit Bar Date so that unknown potential claimants of the Debtor to whom no other

   notice was sent by the Debtor will be notified of the General Bar Date, the Government Unit

   Bar Date and the requirement to file a proof of claim. Accordingly, the Debtor proposes to

   provide notice of the Abuse Bar Date, General Claims Bar Date and the Government Unit Bar

   Date by causing a copy of the notice attached hereto as Exhibit F (the “Publication Notice”) to

   be published as follows in community/local publications for areas in proximity of the

   Archdiocese and its Parishes.

                       (i)    Publication twice (in English) in each of the following publications; the
                              first publication to occur within two weeks of the service of the Bar Date
                              Notice Package and the second publication to two weeks thereafter, with
                              copy to the Associated Press of New Orleans:8

                              The Times-Picayune | The New Orleans Advocate (New Orleans, Baton
                              Rouge, and Lafayette editions)
                              The Shreveport Times
                              The American Press
                              The Lafayette Daily Advertiser
                              The Monroe News-Star
                              The Daily Star (Hammond)
                              The Courier (Houma)
                              The Town Talk (Alexandria)




            8
                The Debtor reserves the right to modify the publication list.



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            44.    In the Debtor’s judgment, the publication protocol described above (the

   “Publication Protocol”) is likely to reach the widest possible audience of creditors who may not

   otherwise have notice of the Debtor’s case.

            45.    Additionally, the Bar Date Notices and/or the Publication Notice will: (i) set forth

   the respective Bar Dates; (ii) advise creditors under what circumstances they must file a proof of

   claim in respect to a pre-petition claim (which include Abuse Claims); (iii) alert creditors to the

   consequences of failing to timely file a proof of claim, as set forth in Bankruptcy Rule

   3003(c)(2) or an order of this Court, as applicable; (iv) set forth the address to which proofs of

   claim must be sent for filing; and (v) notify creditors that: (a) proofs of claim must be filed with

   original signatures; and (b) facsimile or e-mail filings of proofs of claim are not acceptable and

   are not valid for any purpose. The Debtor submits that the Publication Protocol is appropriate,

   and that the Bar Date Notices and Publication Notice will provide creditors with sufficient

   information to file properly prepared and executed proofs of claim in a timely manner, while

   simultaneously protecting the confidentiality of Abuse Claimants.

                                          Reservation of Rights

            46.    The Debtor reserves its right to object to any claim or proof of claim on any

    grounds, including, but not limited to, the passing of the applicable statutes of limitations. The

    Debtor reserves its right to dispute, or to assert offsets or defenses to, any claim reflected on the

    Schedules, or any amendments thereto, as to amount, liability, classification, or otherwise, and

    to subsequently designate any claim as disputed, contingent, unliquidated or undetermined.

            47.    Nothing contained in this Motion should be construed as an admission as to the

   validity of any claim against the Archdiocese, a waiver of the Archdiocese’s right to dispute any

   claim, the approval or assumption of any contract or lease under § 365 of the Bankruptcy Code,




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   or the Archdiocese’s waiver any of its rights under any applicable law, including, without

   limitation, the 1983 Code of Canon Law for the Church, the First Amendment of the United

   States Constitution, the Constitution of the State of Louisiana, the Religious Freedom

   Restoration Act, the church autonomy doctrine, any applicable charitable trust law, the right to

   object to disclosure of information, and the right to contend that assets that may be discussed in

   this Motion are not property of the estate.

                                                  Notice

            48.    Notice of this Motion has been provided to the parties identified in this Court’s Ex

   Parte Order Authorizing the Debtor to Limit Notice and Establishing Notice Procedures [ECF

   No. 22], including: (a) creditors who claim to hold security interests or liens, including Hancock

   Whitney Bank, KS State Bank, and Dell Financial Services LP, together with any of their known

   counsel; (b) the Archdiocese’s twenty (20) largest unsecured creditors, together with any of their

   known counsel; (c) the creditors appointed to serve on the Creditors’ Committee, together with

   any counsel for the Creditors’ Committee; (d) all parties who have requested special notice

   pursuant to Bankruptcy Rule 2002, together with any of their known counsel; (e) the Office of

   the United States Trustee for the Eastern District of Louisiana; and (f) all applicable

   governmental agencies to the extent required by the Bankruptcy Rules and Local Rules, together

   with any of their known counsel. In light of the nature of the relief requested herein, the Debtor

   submits that no other or further notice is necessary.

                                           No Prior Request

            49.    No previous request for the relief sought herein has been made to this or any other

   Court.




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            WHEREFORE, the Debtor respectfully requests that the Court enter an order,

   substantially in the form attached hereto as Exhibit G: (i) Establishing the Bar Dates as the

   deadlines to file claims against the Debtor; (ii) approving the proposed Proof of Claim Forms;

   (iii) approving the form and manner of notice of the Bar Date Notice Packages, pursuant to

   Bankruptcy Rule 2002(a)(7); (iv) approving the form and manner of publication of the

   Publication Notice pursuant to Bankruptcy Rule 2002(1); and (vi) granting such other and further

   relief as the Court may deem proper.

            Dated: July 1, 2020.

                                               Respectfully submitted,




                                               _/s/ Lucas H. Self_______________
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                                               ATTORNEYS FOR THE ROMAN CATHOLIC
                                               CHURCH OF THE ARCHDIOCESE OF NEW
                                               ORLEANS




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